Case: 4:23-cv-01285-JSD Doc. #: 1-6 Filed: 10/11/23 Page: 1 of 2 PagelD #: 30

JS 44 (Rev. 04/21)

purpose of initiating the civil docket sheet.

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

(SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS
Brennen Hurt

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attormeys (Firm Name, Address, and Telephone Number)

DEFENDANTS
Exeter Finance

NOTE:

Attorneys (If Known)

County of Residence of First Listed Defend.

LLC

Irvina
(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Il. BASIS OF JURISDICTION (Place an “x” in One Box Only)

III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “x” in One Box for Plaintiff

(For Diversity Cases Only) and One Box for Defendant)
(J! US. Government [£]3 Federal Question PIF DEF PIF DEF
Plaintiff (U.S. Government Not a Party) Citizen of This State (<]1 (J 1 Incorporated or Principal Place O4 (44
of Business In This State
(]2 US. Government (4 Diversity Citizen of Another State [12 [2 Incorporated and Principal Place []5 [Xx]5
: Defendant (Indicate Citizenship of Parties in Item Il1) of Business In Another State
Citizen or Subject of a (3 (3 Foreign Nation Oe (6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
l CONTRACT TORTS FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
110 Insurance PERSONAL INJURY PERSONAL INJURY T1625 Drug Related Seizure 422 Appeal 28 USC 158 375 False Claims Act
120 Marine — 310 Airplane oO 365 Personal Injury - of Property 21 USC 881 423 Withdrawal 376 Qui Tam (31 USC
130 Miller Act 315 Airplane Product Product Liability | 690 Other 28 USC 157 3729(a))
140 Negotiable Instrument Liability (1) 367 Health Care/ INTELLECTUAL 400 State Reapportionment
150 Recovery of Overpayment H 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 820 Copyrights 430 Banks and Banking
151 Medicare Act |] 330 Federal Employers’ Product Liability 830 Patent 450 Commerce
4 152 Recovery of Defaulted Liability [a] 368 Asbestos Personal 835 Patent - Abbreviated 460 Deportation
Student Loans 340 Marine Injury Product New Drug Applicati 470 Racketeer Influenced and
(Excludes Veterans) 345 Marine Product Liability 840 Trademark Corrupt Organizations
[LJ 153 Recovery of Overpayment Liability PERSONAL PROPERTY ee 880 Defend Trade Secrets [_] 480 Consumer Credit
of Veteran's Benefits 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards Act of 2016 (15 USC 1681 or 1692)
160 Stockholders’ Suits 4 355 Motor Vehicle H 371 Truth in Lending Act | 485 Telephone Consumer
190 Other Contract Product Liability [_] 380 Other Personal | 1720 Labor/Management Protection Act
195 Contract Product Liability | 360 Other Personal Property Damage Relations 861 HIA (1395ff) - 490 Cable/Sat TV
196 Franchise Injury oO 385 Property Damage 740 Railway Labor Act 862 Black Lung (923) 850 Securities/Commodities/
] 362 Personal Injury - Product Liability Hs Family and Medical 863 DIWC/DIWW (405(g)) Exchange
Medical Malpractice Leave Act 864 SSID Title XVI CI 890 Other Statutory Actions
[REAL PROPERTY | _CIVILRIGHTS | PRISONER FETITIONS 790 Other Labor Litigation 865 RSI (405(g)) [| 891 Agricultural Acts
210 Land Condemnation 440 Other Civil Rights Habeas Corpus: |_]791 Employee Retirement 893 Environmental! Matters
220 Foreclosure 441 Voting 463 Alicn Detainee Income Security Act 895 Freedom of Information
230 Rent Lease & Ejectment 442 Employment 510 Motions to Vacate ] 870 Taxes (U.S. Plaintiff Act
240 Torts to Land 443 Housing/ Sentence or Defendant) 896 Arbitration
245 Tort Product Liability Accommodations 530 General [_] 871 IRS—Third Party —. 899 Administrative Procedure
290 All Other Real Property 445 Amer. w/Disabilities -[_| 535 Death Penalty IMMIGRATION 26 USC 7609 Act/Review or Appeal of
Employment Other: 462 Naturalization Application Agency Decision
J 446 Amer. w/Disabilities -]_] 540 Mandamus & Other fe Other Immigration | 950 Constitutionality of
Other 550 Civil Rights Actions State Statutes
|) 448 Education 555 Prison Condition
560 Civil Detainee -
Conditions of
Confi
V. ORIGIN (Place an “X” in One Box Only)

1 Original
G) Proceeding

oo? Removed from
State Court

3 Remanded from
Appellate Court

o4 Reinstated or oO 5 Transferred from
Another District

(specify)

Reopened

6 Multidistrict oO 8 Multidistrict
Litigation - Litigation -
Transfer Direct File

VI. CAUSE OF ACTION

Breach of Contract, Security Fraud

Cite the U.S, Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity);

Brief description of cause:
Failure to adhere to term, deprivation of rights

VIL. REQU ESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. JURY DEMAND: — []Yes _["]No
VILL. RELATED CASE(S)
. ' See instructions,
IF ANY ew DOCKET NUMBER

nNaTR

(ofl [w27

JUDGE
a

Ronnie L white

~— iy J, ; SIGNATIIRE OF ATTORNEY OF PRCORT
oe

FOR OFFICE USE ONLY

nciciri ® AM

WUINE arrcLiinuirr

IUVUL

MAY. JUVUL

Case: 4:23-cv-01285-JSD Doc. #: 1-6 Filed: 10/11/23 Page: 2 of 2 PagelD #: 31

Brennen Hurt

V;
Exeter Finance LLC

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MISSOURI

Plaintiff,

Case No.

>

Defendant,

ORIGINAL FILING FORM

THIS FORM MUST BE COMPLETED AND VERIFIED BY THE FILING PARTY
WHEN INITIATING A NEW CASE.

Xl] THIS SAME CAUSE, OR A SUBSTANTIALLY EQUIVALENT COMPLAINT, WAS

PREVIOUSLY FILED IN THIS COURT AS CASE NUMBER 4:23-CV-00836 HEA

AND ASSIGNED TO THE HONORABLE JUDGE Ronnie L. White

Fal THIS CAUSE IS RELATED, BUT IS NOT SUBSTANTIALLY EQUIVALENT TO ANY

PREVIOUSLY FILED COMPLAINT. THE RELATED CASE NUMBER IS AND

THAT CASE WAS ASSIGNED TO THE HONORABLE . THIS CASE MAY,

THEREFORE, BE OPENED AS AN ORIGINAL PROCEEDING.

O

NEITHER THIS SAME CAUSE, NOR A SUBSTANTIALLY EQUIVALENT

COMPLAINT, HAS BEEN PREVIOUSLY FILED IN THIS COURT, AND THEREFORE

MAY BE OPENED AS AN ORIGINAL PROCEEDING.

The undersigned affirms that the information provided above is true and correct.

Da oh |o23

